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            EXHIBIT D
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                                                              February 24, 2022
Honorable Colleen McMahon
United States District Judge
Southern District of New York


Dear Judge McMahon,

I’m writing in reference to Freedom Turner. I am one of Freedom’s oldest sisters,
Maureen Leonard. Freedom is a person of good moral character. I realize that might
seem hard to believe, given the circumstances, but it’s true.

I have known Freedom all my life, and now I'm thirty years old and he’s twenty-four. He
grew up with four older siblings: me, my brother, and my two older sisters. He lived with
me, our brother, and our mom and dad growing up. Freedom is a very decent person
who doesn’t mind going the extra mile to help you if needed. In the time I’ve known him,
I have seen Freedom go through ups and downs, especially after the passing of our
mother, Margaret Leonard, in 2014. My mom’s passing took a toll on him and still affects
him to this day. He was always a good kid, but after our mom died, he was hanging out
in the streets more, not listening to my dad enough, and coming home whenever he felt
like it. He was really close to our mom – he was always attached to her. There are still
days when he really needs his mother, or when he really wants to sit and talk to his
mom, but he can't. I don’t think he was able to process her passing; he talked to me and
my brother about it, but he didn’t have anyone else to go to.

In June of 2020 Freedom had a baby boy, and became a very happy, proud father. He
traveled back and forth to Atlanta from New York to be there for the birth of his baby
boy, as well to spend time with his son. Freedom is a great father. It’s hard because he
son lived far away, but he was trying to find ways to get down there to his son as much
as he could. I want his son to know his dad and grow up with his dad there. Freedom
spending a long time away could really affect him. He just turned two, so I think as he
gets older, he’s going to miss his dad.

Freedom made his mistakes, but he’s incredibly remorseful and is willing to do whatever
it takes. With the proper guidance and support Freedom can definitely change and
become the better person I know he can be. When he was out, he was willing to work
and have a job, because he wanted to take care of his son and family. He made sure to
have whatever his son’s mother needed on hand. He was working at FedEx before as a
seasonal worker and was looking for more permanent jobs, but I don’t think he landed
every job he wanted. When he gets out, he has people who can help him find
something. My dad could help him find a job, and I’m in a place in my life now where I
can help him out more.
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Freedom is away, and I know it has given him some time to think about turning his life
around. He wants to come home, do better, and be more committed to certain aspects
in his life. I know he wants to find a job, and my dad is getting a place for them to live
either in New Jersey or in Yonkers. The first thing Freedom wants is to see his two-year-
old son and spend time with him, because I know he misses him. Freedom misses the
rest of his family, too, because we were always around each other. When he was out, I
used to talk to Freedom almost every day to check up on him and make sure he's good,
and he would do the same for me. We would make sure we each had money in our
pockets and would say, “don't be hesitant to ask if needed.” Now I don't hear from my
brother and I always want to make sure he's good, but I can’t talk to him as much.
Freedom can always come to me for anything he needs. I'm there for Freedom one
hundred percent.

I miss my little brother and I want him to come home. I acknowledge Freedom’s
mistake, but that does not stop me from loving my little brother and wanting to be there
for him and support him every step of the way. He needs you to give him an opportunity
at a second chance, Judge. I just hope you recognize the power you wield over his life
and make a fair decision.


Sincerely,

Maureen Leonard
